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                  UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                       STATESBORO DIVISION

JAMES GOCEL,

               Plaintiff,
                                                   Civil Action File No.
                   v.

EAST GEORGIA REGIONAL
MEDICAL CENTER, LLC,

              Defendant.

                                 COMPLAINT

     Plaintiff James Gocel (“Mr. Gocel”) states his complaint against the above-

named Defendant as follows.

1.   This is a complaint for interference and retaliation in violation of the Family

     and Medical Leave Act, 29 U.S.C. § 2601, et seq. (the “FMLA”).

2.   This Court has jurisdiction over Mr. Gocel’s claims, and venue is proper in

     this Court.

3.   Defendant East Georgia Regional Medical Center, LLC (“EGRMS”) is a

     Georgia limited liability company that conducts business in the State of

     Georgia. EGRMC operates a hospital in Statesboro, Georgia. EGRMC’s

     registered agent is Corporation Service Company located at 2 Sun Court,
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      Suite 400, Peachtree Corners, Georgia 30092.

4.    Mr. Gocel began employment with EGRMC as a lab assistant on July 15,

      2019.

5.    One of Mr. Gocel’s children has a medical condition that qualifies as a

      serious health condition under the FMLA.

6.    Beginning on or about July 23, 2020, Mr. Gocel took leave from work to

      care for his child. Mr. Gocel informed his supervisor of his need for leave

      and the reason for his leave.

7.    Under its personnel policies, EGRMC routinely allows employees to take

      non-FMLA personal leave of up to 90 days.

8.    Defendant terminated Mr. Gocel on August 6, 2020 due to his need for leave

      from work.

9.    Mr. Gocel worked more than 1,250 hours for EGRMC during the 12-month

      period preceding July 23, 2020.

10.   During the calendar years 2019 and 2020, EGRMC employed 50 or more

      employees within 75 miles of its hospital in Statesboro, Georgia.

11.   FMLA Interference Claim - Defendant violated the FMLA by (1) failing to

      notify Mr. Gocel of his FMLA rights after learning of his need for leave, (2)

      failing to allow Mr. Gocel FMLA leave, and (3) terminating Mr. Gocel’s


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      employment instead of permitting him to take FMLA leave.

12.   FMLA Retaliation Claim – Defendant also violated the FMLA by

      terminating Mr. Gocel’s employment due to his need for FMLA leave. More

      specifically, under its personnel policies, Defendant routinely allows

      employees up to 90 days of personal, non-FMLA leave.                 However,

      Defendant terminated Mr. Gocel’s employment after just 14 days of FMLA-

      qualifying leave.

      Based on the above facts, Mr. Gocel requests a jury trial on all triable issues

and asks the Court for the following relief: back pay, liquidated damages as

permitted by the FMLA, front pay, prejudgment interest, litigation costs, attorneys’

fees, and other relief deemed appropriate by the Court.

      Respectfully submitted on June 28, 2021.

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